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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                                                      )
 In re:                                                               ) Chapter 11
                                                                      )
 SPECIALTY RETAIL SHOPS HOLDING CORP., et                             ) Case No. 19-80064 (TLS)
 al.,1
                                                                      )
                           Debtors.                                   ) (Joint Administration Requested)
                                                                      )

         DEBTORS' MOTION FOR ENTRY OF AN ORDER (A) ESTABLISHING
     BIDDING PROCEDURES FOR THE SALE OF CERTAIN REAL PROPERTY, AND
                  (B) GRANTING CERTAIN RELATED RELIEF

           Specialty Retail Shops Holding Corp. and its debtor affiliates, as debtors and debtors in

 possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully state

 as follows in support of this motion (this “Motion”). The Debtors submit the Declaration of

 Michael Jerbich in Support of the Debtors’ Motion for Entry of An Order (A) Establishing Bidding

 Procedures for the Sale of Certain Real Property, and (B) Granting Certain Related Relief (the

 “Jerbich Declaration”), filed contemporaneously herewith, in support of this motion (this

 “Motion”).

                                               Relief Requested

           1.      By this Motion, the Debtors respectfully seek: (a) entry of an order (the “Bidding

 Procedures Order”) (i) establishing the bidding procedures attached hereto as Exhibit A (the

 “Bidding Procedures”), by which the Debtors will solicit and select the highest or otherwise best



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           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
           identification number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co.,
           LLC (6157); Pamida Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’
           Expansion, LLC (7526); Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card
           Co., LLC (2161); ShopKo Holding Company, LLC (0171); ShopKo Institutional Care Services Co., LLC
           (7112); ShopKo Optical Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores
           Operating Co., LLC (6109); SVS Trucking, LLC (0592). The location of the Debtors’ service address is:
           700 Pilgrim Way, Green Bay, Wisconsin 54304.


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 offers for the sale, liquidation, or other disposition (such sales, liquidations, or other dispositions,

 the “Transactions”) of the real property owned by the Debtors, all of which are listed on Exhibit

 B attached hereto, including six store properties and sixty-one out-lots (collectively the

 “Properties”, and each individually, a “Property”); (ii) approving the form and manner of notice

 with respect to certain procedures, schedules, and agreements described herein and attached hereto

 as Exhibit C (the “Transaction Notice”); (iii) scheduling a final hearing (the “Transaction

 Hearing”) to approve the Transactions; and (iv) approving the form agreements attached to the

 Bidding Procedures which are attached as Exhibit D and Exhibit E; (b) following the Transaction

 Hearing, entry of an order (the “Transaction Order”) authorizing the sale, liquidation, or other

 disposition of the Debtors’ Properties free and clear of liens, claims, interests, and encumbrances

 (collectively, the “Interests”) with any such Interests to attach to the proceeds thereof with the

 same validity and priority (under the Bankruptcy Code) as such Interests had immediately prior to

 the consummation of the Transactions; and (c) granting related relief.

        2.      On the closing date of any Transaction, to the extent the DIP Claims, Prepetition

 ABL Claims, and Term Loan Secured Claims are not yet Satisfied (as each term is defined in the

 Third Amended Joint Chapter 11 Plan of Specialty Retail Shops Holding Corp. and its Debtor

 Affiliates (the “Plan”) as set forth in Article II.C and Article III.B of the Plan, the proceeds of the

 Properties from the closing of such Transaction shall be paid to the Agent for application and

 payment of all obligations, if any, owing by the Debtors to Agent and the Lenders, or otherwise

 in accordance with the DIP Order.

        3.      Finally, the Debtors respectfully request leave to submit proposed orders for the

 Court’s consideration to grant the relief requested herein.




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                                      Jurisdiction and Venue

        4.      The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska General Rule 1.5

 of the United States District Court for the District of Nebraska. The Debtors confirm their consent,

 pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

 the entry of a final order by the Court in connection with this motion to the extent that it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

        5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      The bases for the relief requested herein are sections 105 and 363 of title 11 of the

 United States Code (“the Bankruptcy Code”), Bankruptcy Rules 2002, 6004, and Rule 6004-1 of

 the Local Bankruptcy Rules for the United States Bankruptcy Court for the District of Nebraska

 (the “Local Rules”).

                                            Background

        7.      On January 16, 2019 (the "Petition Date"), each of the Debtors commenced a case

 under chapter 11 of the Bankruptcy Code. The Debtors' chapter 11 cases have been consolidated

 for procedural purposes only and are being administered jointly.

        8.      By this motion the Debtors seek to implement Bidding Procedures to liquidate all

 of the Debtors’ Properties. The Debtors have ceased or will be ceasing business operations at all

 of the Properties within the next thirty days, and the Debtors no longer have need of them.

        9.      The Debtors, through its real estate broker, A&G Realty Partners, LLC (“A&G”),

 has taken substantial steps to market the Properties, including contacting, and distributing

 marketing packages to, over 15,000 real estate brokers and over 1,500 professionals who have

 expressed interest to A&G in bankruptcy auctions for leases, fee-owned assets and land parcels in

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 retail bankruptcy cases in the last five years. (See Jerbich Declaration). The Debtors, through

 A&G, have also notified and distributed marketing materials to a significant number of local third

 parties and retailers who operate near the specific Properties who may have an interest in the

 Properties. (Id.) The Properties are also published as “for sale” on A&G’s website, and “Building

 for Sale” signs have been placed in several of the retail Properties. (Id.) The Debtors will continue

 to pursue the highest or otherwise best bids possible for the Properties pursuant to the Bidding

 Procedures. The Debtors respectfully request that the Court approve the following proposed

 general timeline, or one substantially similar, in order to allow for an expeditious sale of the

 Properties:

                            Action                                        Deadline

         Bid Deadline                                   July 22, 2019 at 4:00 p.m. (prevailing Central
                                                        Time) as the deadline by which bids for the
                                                        Properties (as well as all other
                                                        documentation required under the Bidding
                                                        Procedures for Potential Bidders (as defined
                                                        in the Bidding Procedures)) must be actually
                                                        received (the “Bid Deadline”).

         Auction                                        July 24, 2019 at 9:00 a.m. (prevailing Central
                                                        Time) at the offices of Kirkland & Ellis LLP,
                                                        located at 300 North LaSalle, Chicago,
                                                        Illinois 60654, (or at any other location as the
                                                        Debtors may hereafter designate on proper
                                                        notice).

         Transaction Objection Deadline                 July 26, 2019 at 4:00 p.m. (prevailing Central
                                                        Time) as the deadline to object to the
                                                        Transaction.

         Reply Deadline                                 July 29, 2019 at the time of the Transaction
                                                        Hearing (prevailing Central Time) as the
                                                        deadline to reply to the Transaction
                                                        Objections, either in writing or in open court
                                                        at the Transaction Hearing.




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          Transaction Hearing                           July 29, 2019 (Central Time) at 1:00 p.m.
                                                        or as soon thereafter as the Court’s
                                                        calendar would permit


         10.     In formulating Bidding Procedures and the time periods therein for this sale process,

 the Debtors have attempted to balance their obligation to provide adequate and appropriate notice

 to parties in interest and potential purchasers against the need to sell the Properties expeditiously.

 Completion of the sale process in a timely manner will optimize the value of the Properties.

 Accordingly, the Debtors submit that the relief requested herein is in the best interests of the

 Debtors' estates.

 The Bidding Procedures and Auction

         11.     The Bidding Procedures are designed to optimize value for the Debtors' estates and

 will enable the Debtors, with the assistance of the broker for these sales, A&G, to review, analyze

 and compare all bids received to determine which bids are in the best interests of the Debtors'

 estates and creditors. The Bidding Procedures describe, among other things, the manner by which

 bidders and bids become “qualified,” the receipt and negotiation of bids received, the conduct of

 an auction, the selection and approval of any ultimately successful bidders, and the deadlines with

 respect to the foregoing Bidding Procedures. The Debtors reserve the right under these Bidding

 Procedures to withdraw any Property from the Auction at any time for any reason, including that

 the Debtors failed to receive adequate bids. The Debtors submit that the Bidding Procedures afford

 the Debtors the best opportunity to pursue a sale process that will maximize the value of their

 assets for the benefit of creditors.




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        12.      Certain of the key terms of the Bidding Procedures are highlighted as follows

 pursuant to Local Rule 6004-1(c):2

        a.       Due Diligence. To receive due-diligence information, a party interested in
                 submitting a bid (“Bidder”) must deliver (or have delivered) a request therefor prior
                 to the Bid Deadline (defined below) to: (i) A&G Realty Partners, LLC, 525 West
                 Monroe Street, Suite 2330, Chicago, Illinois 60661 (Attn: Michael Jerbich), email:
                 michael@agrealtypartners; (ii) Kirkland & Ellis, LLP, 300 North LaSalle, Chicago,
                 Illinois 60654 (Attn: Travis Bayer), email: travis.bayer@kirkland.com; and (iii)
                 McGrath North Mullin & Kratz, PC LLO, 101 Dodge Street, Suite 3700, Omaha,
                 Nebraska 60102, Attn: James Niemeier, email: jniemeier@mcgrathnorth.com. The
                 due-diligence period will end on the Bid Deadline. Neither Debtors nor their
                 representatives, including A&G, will be obligated to furnish any information
                 following the expiration of the Bid Deadline. Further, neither the Debtors nor their
                 representatives, including A&G, will be obligated to provide any information to a
                 party that, in the Debtors' reasonable discretion, is not reasonably likely to be a
                 Qualified Bidder.

        b.       Bid Deadline. A Bidder that desires to make a proposal, solicitation, or offer (each,
                 a “Bid”) shall transmit such Bid via email (in .pdf or similar format), so as to be
                 actually received on or before July 22, 2019, at 4:00 p.m. (prevailing Central
                 Time) (the “Bid Deadline”), to:

                 (i)       A&G Realty Partners, LLC, 525 West Monroe Street, Suite 2330, Chicago,
                           Illinois 60661 (Attn: Michael Jerbich), email: michael@agrealtypartners;

                 (ii)      Kirkland & Ellis, LLP, 300 North LaSalle, Chicago, Illinois 60654 (Attn:
                           Travis Bayer), email: travis.bayer@kirkland.com; and

                 (iii)     McGrath North Mullin & Kratz, PC LLO, 101 Dodge Street, Suite 3700,
                           Omaha,    Nebraska    60102,   Attn:   James   Niemeier,     email:
                           jniemeier@mcgrathnorth.com.

        c.       Bid Requirements. In order for a Bidder to become a Qualified Bidder, a Bidder
                 must submit to Debtors’ Counsel, with a copy to A&G, a Bid in writing that satisfies
                 the following requirements (collectively, the “Bid Requirements”), as determined
                 by the Debtors, in their discretion.

               i.       Bid. The Bid must include a completed and signed "Offer and Bidder
                        Registration Form" in the form attached hereto as Exhibit F, identifying the


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        The brief description of the key milestones in the Bidding Procedures described herein is for the convenience
        of the Court and parties in interest. The full copy of the Bidding Procedures, which are attached hereto as
        Exhibit A, should be reviewed in its entirety and will control in the event of any inconsistency or ambiguity
        in any descriptions of them herein. Capitalized terms used in this summary and not otherwise defined herein
        have the meanings given to them in the Bidding Procedures.


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                 legal name of the bidder (including any equity holders or other financial backers,
                 if the Bidder is an entity formed for the purpose of consummating the
                 transaction) and stating among other things the amount of the Bid, the Property
                 or Properties to which the Bid pertains, and an allocation of the Bid amount
                 among the Properties included in the Bid. The minimum bid amount for each
                 Property shall be established at the discretion of the Debtors. The Bid must
                 expressly state that the Bidder's offer is all cash, on an “as-is, where-is” basis.
                 The Bid must also state that it is severable by Property if such Bid is not
                 determined by the Debtors to be the Winning Bid or Backup Bid that becomes
                 the Winning Bid with respect to any Property or Properties.

           ii.   Committed Financing. To the extent that a Bid is not accompanied by
                 evidence of the Bidder’s capacity to consummate the Transaction set forth in
                 its Bid with cash on hand, each Bid must include committed financing
                 documented to the Debtors’ satisfaction that demonstrates that the Bidder has
                 received sufficient debt and/or equity funding commitments to satisfy the
                 Bidder’s Purchase Price and other obligations under its Bid. Such funding
                 commitments or other financing must be unconditional and must not be subject
                 to any internal approvals, syndication requirements, diligence, or credit
                 committee approvals, or shall have covenants and conditions acceptable to the
                 Debtors.

          iii.   Contingencies; No Financing or Diligence Outs. A Bid shall contain no
                 contingencies to the validity, effectiveness, and/or binding nature of the Bid,
                 including contingencies for regulatory review or approval, due diligence or
                 inspection, or financing of any kind.

          iv.    APA. Each Bid must include a fully completed and executed asset purchase
                 agreement substantially in the forms annexed hereto as Exhibit D and Exhibit
                 E (“APA”). The APA, as tendered, may not contain any contingencies,
                 including, but not limited to due diligence and financing contingencies. To the
                 extent any modifications are proposed, a red-lined copy of the APA must be
                 included, provided that modifications that deviate substantially from the form
                 in Exhibit D and Exhibit E may be rejected, in the Debtors’ sole discretion.

           v.    Financial Wherewithal. Each Bid must provide evidence satisfactory to the
                 Debtors, in their sole discretion, of the bidder's financial wherewithal and
                 ability to consummate the transaction.

          vi.    Good-Faith Deposit. Each Bid must include a Good-Faith Deposit in the
                 amount of 10% of the Purchase Price stated in the Bid, in immediately available
                 funds. The Good-Faith Deposit shall be by wire transfer in accordance with
                 wire instructions provided by A&G. Good-Faith Deposits shall: (i) be held by
                 the Escrow Agent in a segregated account at First American Title Company; (ii)
                 not be deemed to be property of the Debtors' bankruptcy estates pending further
                 order of the Court (except as provided in the immediately following paragraph);


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                    and (iii) be held in escrow pending further order of the Court or forfeiture as
                    described immediately below, or returned to the Bidder in accordance with the
                    Bidding Procedures or the Bidder's signed agreement. ***

            viii.   Irrevocability of Bids; Rejection of Bids. A Qualified Bid must be irrevocable
                    unless and until the Debtors accept a higher Bid and the Qualified Bidder
                    offering the Qualified Bid is not selected as the Backup Bidder. Unless
                    determined by the Debtors to be the Successful Bid or Backup Bid, all other
                    Qualified Bids and all other successive bids at the Auction shall be deemed
                    rejected at the conclusion of the Auction.


       d.       Designation of Qualified Bidders. The Debtors shall determine in their discretion
                which bids qualify as Qualified Bids and which bids shall be rejected as non-
                confirming bids. The Debtors shall have the right to reject bids as non-conforming
                bids; provided, however, the Debtors shall have the right, but not the obligation, to
                negotiate with any bidder with respect to clarification or modification of any Bid.
                A Bid will be considered a “Qualified Bid,” and each Bidder that submits a
                Qualified Bid will be considered a “Qualified Bidder,” if the Debtors determine, in
                their discretion, that such Bid:

                (i) satisfies the Bid Requirements set forth above; and

                (ii) constitutes a good faith, bona fide, offer to purchase one or more of the
                     Properties. ***

                By 2:00 p.m. on July 23, 2019, the Debtors will notify each Qualified Bidder
                whether such party is a Qualified Bidder and shall provide the Notice Parties and
                counsel to the Committee a copy of each Qualified Bid. The Debtors will provide
                such notice to each Bidder at the email address set forth on the Offer & Bidder
                Registration Form provided by the Bidder. ***

       e.       The Auction: *** As soon as reasonably practicable but prior to the
                commencement of the Auction, the Debtors will notify all Qualified Bidders of the
                highest or otherwise best respective Qualified Bids as to the Properties, as
                determined in the Debtors’ business judgment (each a “Baseline Bid”), and provide
                copies of the documents supporting the Baseline Bids to all Qualified Bidders, the
                Committee, and the Notice Parties. The Baseline Bids will serve as the starting
                point at the Auction as to the applicable Properties, taking into account all relevant
                considerations, including the financial condition of the applicable bidder and
                certainty of closing. ***

                Unless otherwise indicated as provided by the Bidding Procedures Order, the
                Auction shall take place at 9:00 a.m. (prevailing Central Time) on July 24, 2019,
                at the offices of Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654,
                or such later date and time or location as selected by the Debtors. The Auction shall
                be conducted in a timely fashion according to the following procedures:

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              i.   The Debtors’ Conduct of the Auction. The Debtors and their professionals
                   shall direct and preside over the Auction. The Debtors may, at the beginning
                   of the Auction, announce procedural and related rules governing the Auction,
                   including time periods available to all Qualified Bidders to submit Overbids (as
                   defined herein). The Debtors may, in keeping with the goal of the Auction, offer
                   the Properties for sale separately, all together, or in groups, in their discretion.
                   At the start of the Auction as to each Property or Properties, the Debtors shall
                   describe the terms of the applicable Baseline Bid. All incremental Bids made
                   thereafter shall be Overbids (as defined herein) and shall be made and received
                   on an open basis, and all material terms of each Overbid shall be fully disclosed
                   to all other Qualified Bidders. The Debtors shall maintain a written transcript
                   of all Bids made and announced at the Auction, including the Baseline Bid, all
                   Overbids, and the Winning Bid. ***

       f.      Closing the Auction. The Auction as to each Property shall continue until there is
               only one Qualified Bid that the Debtors determine, in their business judgment, to
               be the highest or otherwise best Qualified Bid. Such Qualified Bid shall be declared
               the “Winning Bid” as to the Property and such Qualified Bidder, the “Winning
               Bidder,” at which point the Auction as to that Property will be closed. The Auction
               shall not close unless and until all Qualified Bidders have been given a reasonable
               opportunity to submit an Overbid at the Auction to the then Prevailing Highest Bid.
               Such acceptance by the Debtors of the Winning Bid is conditioned upon
               satisfactory documentation and approval by the Court of the Winning Bid.***

       g.      Backup Bidder.

              i.      Notwithstanding anything in these Bidding Procedures to the contrary, if an
                      Auction is conducted, the Qualified Bidder with the next-highest or
                      otherwise second-best Qualified Bid as to a Property or Properties at the
                      Auction, as determined by the Debtors in the exercise of their business
                      judgment, shall be required to serve as a backup bidder (the “Backup
                      Bidder”) until such time that the Transaction is consummated, and each
                      Qualified Bidder shall agree and be deemed to agree to be the Backup
                      Bidder if so designated by the Debtors. ***

            iii.     If the Winning Bidder should fail to consummate the approved Transaction
                     contemplated by its Winning Bid, the Debtors may select the Backup Bidder
                     as the Winning Bidder, and such Backup Bidder shall be deemed a Winning
                     Bidder for all purposes. The Debtors will be authorized, but not required, to
                     consummate the Transaction contemplated by the Bid of such Backup Bidder
                     without further order of the Court or notice to any party.

       h.      Transaction Hearing. A hearing to consider approval of the Transaction(s) (the
               “Transaction Hearing”) pursuant to which the Debtors and the Winning Bidders
               intend to consummate the Transactions contemplated by the Winning Bids will be
               held on or after July 29, 2019 and otherwise in accordance with any scheduling
               order entered by the Court. ***.

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       i.   Closing. The closing of the sale of the Properties will occur in accordance with the
            terms of the Winning Bidder Sale Documents or the purchase agreement of the
            entity otherwise authorized by the Court to purchase the Properties, as applicable.

       j.   Failure of a Winning Bidder to Consummate Purchase. If any Winning Bidder
            should fail to consummate the purchase of the applicable Property pursuant to the
            terms of the Winning Bidder Sale Documents, and such failure be the result of such
            Winning Bidder’s breach of, or default, or failure to perform under, any Winning
            Bidder Sale Documents or the terms of these Bidding Procedures (the “Defaulting
            Bidder”), and/or fail to cooperate with the Debtors and their advisors to contest any
            objections to the purchase of the applicable Property and/or to appear for testimony,
            as needed, such Defaulting Bidder’s Qualified Bidder Deposit shall be forfeited to
            the Debtors, and the Debtors shall have all rights and remedies available under
            applicable law. ***

       k.   Reservation of Rights. The Debtors reserve their rights to modify these Bidding
            Procedures in their business judgment, in any manner that will best promote the
            goals of these Bidding Procedures, or impose, at or prior to the Auction, additional
            customary terms and conditions on a Transaction, including: (a) extending the
            deadlines set forth in these Bidding Procedures; (b) adjourning the Auction at the
            Auction; (c) adding procedural rules that are reasonably necessary or advisable
            under the circumstances for conducting the Auction; (d) canceling the Auction; and
            (e) rejecting any or all Bids or Qualified Bids. Nothing in these Bidding Procedures
            shall abrogate the fiduciary duties of the Debtors. ***

       l.   Return of Deposit. The Deposit of any Winning Bidder shall be applied to the
            Purchase Price of the applicable Transaction at closing. The Deposits for each
            Qualified Bidder shall be held in one or more escrow accounts on terms acceptable
            to the Debtors and shall be returned (other than with respect to the Winning Bidder
            and the Backup Bidder) on the date that is three business days after the Auction.

            If a Winning Bidder fails to consummate a proposed Transaction because of a
            breach by such Winning Bidder, the Debtors will not have any obligation to return
            the Deposit deposited by such Winning Bidder, which may be retained by the
            Debtors as liquidated damages, in addition to any and all rights, remedies, or causes
            of action that may be available to the Debtors and their estates, and the Debtors
            shall be free to consummate the proposed Transaction with the applicable Backup
            Bidder without the need for an additional hearing or order of the Court.

       m.   Commission: The Debtors’ broker, A&G, shall be paid a commission of 4% of the
            total purchase price on each sale of Property from the proceeds of the sale of that
            Property. Except as provided in this paragraph, and except as otherwise agreed by
            Debtors in writing, the Debtors shall be under no obligation to pay commission to
            any agent or broker. All commissions, fees, or expenses for agents, other than as
            retained by the Debtors, may be paid by bidders at such bidder’s discretion.




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 Notice Procedures

        13.     The Debtors propose the following notice procedures to be implemented in

 connection with the Bidding Procedures process.

        14.     As soon as reasonably practicable after the entry of the Bidding Procedures Order,

 the Debtors shall serve the Transaction Notice, substantially in the form attached hereto as

 Exhibit D or Exhibit E, the Form APA, and the proposed Bidding Procedures Order, to the extent

 such documents have not already been provided, by first-class mail or, for those parties who have

 consented to receive notice by the Electronic Case Files (“ECF”) system, by ECF, upon (a) all

 entities reasonably known to have expressed an interest in a transaction with respect to all or part

 of the Properties within the past six months; (b) all entities known to have or to have asserted any

 lien, claim, interest, or encumbrance in or upon any of the Properties; and (c) the Office of the

 United States Trustee for the District of Nebraska (the “U.S. Trustee”).

        15.     In addition, as soon as reasonably practicable after the entry of the Bidding

 Procedures Order, the Debtors shall serve the Transaction Notice by first-class mail, postage

 prepaid or, for those parties who have consented to receive notice by the ECF system, by ECF,

 upon (a) the office of the U.S. Trustee for the District of Nebraska; (b) counsel for the Official

 Committee of Unsecured Creditors; (c) the agents under the Debtors’ prepetition asset-based

 facility; (d) the agents under the DIP Facility; (e) the agents under the Debtors’ prepetition term

 loan facility; (f) the Internal Revenue Service; (g) the United States Securities and Exchange

 Commission; (h) the office of the attorneys general for the states in which the Debtors operate;

 (i) the United States Attorney’s Office for the District of Nebraska; and (j) any party that has

 requested notice pursuant to Bankruptcy Rule 2002. The Debtors request that such notice be

 deemed sufficient and proper notice of the Transaction with respect to known interested parties.



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        16.     The Auction will be conducted on July 24, 2019 at 9:00 a.m. (prevailing Central

 Time) at the offices of Kirkland & Ellis LLP, located at 300 North LaSalle, Chicago, Illinois 60654.

        17.     As soon as reasonably practicable after the conclusion of the Auction, the Debtors

 shall file on the docket, but not serve, a notice identifying the Successful Bidder (the “Post-Auction

 Notice”), substantially in the form attached hereto as Exhibit G.

        18.     The Debtors request that the Court hold the Transaction Hearing on July 29, 2019,

 at 1:00 p.m. (prevailing Central Time), or as soon thereafter as the Court’s schedule would allow.

 At the Transaction Hearing, the Debtors will seek Court approval of the Successful Bid and the

 Backup Bids, as applicable. The Transaction Hearing shall be an evidentiary hearing on matters

 relating to the Transaction, and there will be no further bidding at the Transaction Hearing. In the

 event that a Successful Bidder cannot or refuses to consummate the Transaction, the Debtors may,

 in accordance with the Bidding Procedures, designate the relevant Backup Bid to be the new

 Successful Bid and the Backup Bidder to be the new Successful Bidder, and the Debtors shall be

 authorized, but not required, to consummate the Transaction with the Backup Bidder without

 further order of the Court.

        19.     As proposed, any and all objections, if any, to the Transaction (a “Transaction

 Objection”) must be filed by July 27, 2019 at 4:00 p.m. (prevailing Central Time) (the “Transaction

 Objection Deadline”) and served on (a) the Debtors, Specialty Retail Shops Holding Corp., 700

 Pilgrim Way, Green Bay, Wisconsin 54304, Attn: Russell Steinhorst, Chief Executive Officer; (b)

 counsel to the Debtors, Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn:

 Travis Bayer, Esq.; Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022,

 Attn: Steven Serajeddini, Esq. and Daniel Rudewicz, Esq.; (c) co-counsel to the Debtors, McGrath

 North Mullin & Kratz, P.C. LLO, 1601 Dodge St., Omaha, Nebraska 68102, Attn: James Niemeier,



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 Esq.; (d) the Office of the United States Trustee for the District of Nebraska, 111 South 18th Plaza,

 #1125, Omaha, Nebraska 68102, Attn: Jerry Jensen, Esq.; (e) counsel to Wells Fargo Bank, N.A.,

 Otterbourg P.C., 230 Park Avenue, New York, New York 10169, Attn: Chad Simon, Esq.; and (f)

 counsel to the Official Committee of Unsecured Creditors, Robert J. Feinstein, Pachulski Stang

 Ziehl & Jones LLP, 780 Third Avenue, 34th Floor, New York, NY 10017. Any party failing to

 timely file a Transaction Objection will be forever barred from objecting and will be deemed to

 have consented to the Transaction, including the transfer of the Debtors’ right, title and interest in,

 to, and under the Properties free and clear of any and all liens, claims, interests, and encumbrances

 in accordance with the relative definitive agreements for the Transaction(s).



                                           Basis for Relief

        I.      The Bidding Procedures are Fair, Designed to Maximize the Value Received
                for the Properties, and Consistent with the Debtors’ Reasonable Business
                Judgment.

        20.     Adoption of the Bidding Procedures is a valid exercise of the Debtors’ business

 judgment. Courts have consistently held that a debtor’s business judgment is entitled to substantial

 deference with respect to the procedures to be used in selling an estate’s assets. See, e.g., In re

 Trilogy Dev. Co., LLC, No. 09-42219, 2010 Bankr. LEXIS 5636, at *3–4 (Bankr. W.D. Mo. 2010)

 (holding that section 363 of the Bankruptcy Code permits the debtor to sell their assets if a sound

 business purpose exists); In re Channel One Commc’ns, Inc., 117 BR 493 (Bankr. E.D. Mo. 1990)

 (same); In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (“Under Section 363, the debtor in

 possession can sell property of the estate . . . if he has an ‘articulated business justification.’”

 (internal citations omitted)); see also In re Farmland Indus., Inc., 294 B.R 855, 881 (Bankr. W.D.

 Mo. 2003) (holding that courts in this district are reluctant to interfere with corporate decisions

 unless “it is made clear that those decisions are, inter alia, clearly erroneous, made arbitrarily, are

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 in breach of the officers' and directors' fiduciary duty to the corporation, are made on the basis of

 inadequate information or study, are made in bad faith, or are in violation of the Bankruptcy Code”);

 In re Integrated Res., Inc., 147 B.R. 650, 656–57 (S.D.N.Y. 1992) (noting that bidding procedures

 that have been negotiated by a trustee are to be reviewed according to the deferential “business

 judgment” standard, under which such procedures and arrangements are “presumptively valid”).

         21.     The paramount goal in any proposed sale of property of the estate is to maximize

 the proceeds received by the estate. See In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998)

 (“The purpose of procedural bidding orders is to facilitate an open and fair public sale designed to

 maximize value for the estate.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir.

 1997) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the value of the estate

 at hand”); In re Integrated Res., Inc., 147 B.R. at 659 (“[I]t is a well-established principle of

 bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with respect to

 such sales is to obtain the highest price or greatest overall benefit possible for the estate.” (internal

 citations omitted)).

         22.     To that end, courts uniformly recognize that procedures intended to enhance

 competitive bidding are consistent with the goal of maximizing the value received by the estate

 and therefore are appropriate in the context of bankruptcy transactions. See, e.g., Integrated

 Resources, 147 B.R. at 659 (bidding procedures “are important tools to encourage bidding and to

 maximize the value of the debtor’s assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156

 (Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition of assets . . . [should] provide an

 adequate basis for comparison of offers, and [should] provide for a fair and efficient resolution of

 bankrupt estates”).




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        23.     The Debtors believe that the proposed Bidding Procedures will promote active

 bidding from interested parties and will maximize the value the Debtors will receive form the

 Properties for the benefit of the Debtors’ estates. The proposed Bidding Procedures will allow the

 Debtors to conduct an auction in a controlled, fair, and open fashion that will encourage

 participation by financially capable bidders who can demonstrate the ability to close a transaction.

 In particular, the Bidding Procedures contemplate an open auction process with minimum barriers

 to entry and provide potential bidding parties with sufficient time to perform due diligence and

 acquire the information necessary to submit a timely and well-informed bid.

        24.     The Debtors submit that the proposed Bidding Procedures will encourage

 competitive bidding, are appropriate under the relevant standards governing auction proceedings

 and bidding incentives in bankruptcy proceedings, and are consistent with the controlling legal

 standard. Accordingly, the Court should approve the Debtors’ adoption of the Bidding Procedures

 as a valid exercise of the Debtors’ business judgment.

        II.     The Expedited Auction Should be Approved as an Exercise of Sound Business
                Judgment

        25.     Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and

 a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

 estate.” 11 U.S.C. § 363(b)(1). A disposition of a debtor’s assets on an expedited basis should be

 authorized pursuant to section 363 of the Bankruptcy Code if a sound business purpose exists for

 the proposed transaction. See, e.g., In re George Walsh Chevrolet, Inc., 118 B.R. 99, 102 (Bankr.

 E.D. Mo. 1990) (holding that if reasonable notice is given to all creditors and parties in interest, a

 sound business purpose for the disposition exists, the disposition price is fair and reasonable, and

 the sale does not unfairly benefit insiders or the prospective purchaser, then the requirements of

 section 363(b) of the Bankruptcy Code for seeking an expedited are satisfied); In re Channel One


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 Commc’ns, Inc., 117 B.R. 493, 496 (Bankr. E.D. Mo. 1990) (same); In re The Landing, 156 B.R.

 246, 249 (Bankr. E.D. Mo. 1993) (same); In re Abbotts Dairies of Pa., Inc., 788 F.2d 143, 149 (3d

 Cir. 1986) (same); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d

 1063, 1070 (2d Cir. 1983) (same); In re Telesphere Commc’ns, Inc., 179 B.R. 544, 552 (Bankr.

 N.D. Ill. 1999) (same).

        26.     Once the Debtors articulate a valid business justification, “[t]he business judgment

 rule ‘is a presumption that in making the business decision the directors of a corporation acted on

 an informed basis, in good faith, and in the honest belief that the action was in the best interests of

 the company.’” In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill 1995) (citations omitted);

 see also In re Apex Oil Co., 92 B.R. 847, 869 (Bankr. E.D. Mo. 1988) (holding that section 363(b)

 of the Bankruptcy Code is satisfied when using “sound business justifications” and, “absent a

 showing of bad faith, the debtors entered into the disposition of substantially all of their assets”);

 In re Filene’s Basement, LLC, 11-13511 (KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr.

 29, 2014) (“If a valid business justification exists, then a strong presumption follows that the

 agreement at issue was negotiated in good faith and is in the best interests of the estate . . . ”)

 (citations omitted); In re Integrated Res., Inc., 147 B.R. at 656 (explaining that the business

 judgment rule’s presumption that corporate directors “acted on informed basis, in good faith and

 in the honest belief that action taken was in the best interests of the company”); In re Johns-

 Manville Corp., 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“[A] presumption of

 reasonableness attaches to a Debtor’s management decisions.”).

        A.      A Sound Business Purpose Exists for the Sale of the Properties on an
                Expedited Basis

        27.     As set forth above, the Debtors have a sound business justification for selling the

 Properties. The Debtors believe that doing so will maximize the Properties’ value through a


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 competitive marketing and auction process, thus subjecting the Properties to competing bids and

 enhancing the Debtors’ ability to receive the highest, or otherwise best, value for the Properties.

 Consequently, the ultimately successful bids, after being subject to a further “market check” in the

 form of the Auction, will constitute, in the Debtors’ reasonable business judgment, the highest or

 otherwise best offer for the Properties and will provide a greater recovery for their estates than any

 known or practicably available alternative. See, e.g., In re Trans World Airlines, Inc., No. 01-

 00056, 2001 WL 1820326, at *4 (Bankr. D. Del. 2001) (holding that while a “section 363(b) sale

 transaction does not require an auction procedure . . . the auction procedure has developed over

 the years as an effective means for producing an arm’s length fair value transaction.”); see also In

 re Wintz Cos., 219 F.3d 807, 813 (8th Cir. 2000) (holding that an auction procedure for the

 disposition of the debtor’s property can be structured to “maximize the value of estate property”).

 Further, the Debtors are reserving their rights to not enter into a sale transaction with respect to

 any Property if the Debtors believe in their reasonable business judgment that entry into any such

 sale will not maximize the value of the Property being considered.

        28.     Furthermore, the Debtors have been engaged in an extensive marketing program

 related to the Properties since April 2019. The Debtors, through their broker A&G, have taken

 substantial steps to market the Properties, including contacting, and distributing marketing

 packages to, over 15,000 real estate brokers and over 1,500 professionals who have expressed

 interest to A&G in bankruptcy auctions for leases, fee-owned assets and land parcels in retail

 bankruptcy cases in the last five years. The Debtors, through A&G, have also notified and

 distributed marketing materials to a significant number of local third parties and retailers who

 operate near the specific Properties who may have an interest in the Properties. The Properties are

 also published as “for sale” on A&G’s website, and “Building for Sale” signs have been placed in



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 several of the retail Properties. Thus, a prolonged sale process would not benefit the Debtors’

 estates.

            29.   Lastly, an expedited sale would help the Debtors to avoid additional carrying costs.

            30.   Thus, the Debtors submit that the Successful Bidders’ Bids will constitute the

 highest or otherwise best offer for the Properties and will provide a greater recovery for the Debtors’

 estates than would be provided by any other available alternative.            As such, the Debtors’

 determination to sell, liquidate, or enter into a disposition regarding the Properties through an

 expedited Auction process will be a valid and sound exercise of the Debtors’ business judgment.

 The Debtors will submit evidence at the Transaction Hearing to support these conclusions.

 Therefore, the Debtors request that the Court make a finding that the proposed Transaction is a

 proper exercise of the Debtors’ business judgment and are rightly authorized on an expedited basis.

            B.    Adequate and Reasonable Notice of the Auction Will be Provided.

            31.   As described above, the sale notice: (a) will be served in a manner that provides

 adequate notice of the date, time, and location of the Transaction Hearing; (b) informs parties in

 interest of the deadlines for objecting to the Transaction; and (c) otherwise includes all information

 relevant to parties interested in or affected by the Transaction. Significantly, the form and manner

 of the Transaction Notice will have been approved by the Court pursuant to the Bidding Procedures

 Order.

            C.    The Transactions Are Proposed in Good Faith and Without Collusion, and
                  Successful Bidder Is a Good-Faith Purchaser.

            32.   The Debtors request that the Court find that the Successful Bidder(s) will be entitled

 to the benefits and protections provided by section 363(m) of the Bankruptcy Code in connection

 with the Transaction.

            33.   Section 363(m) of the Bankruptcy Code provides in pertinent part:


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                 [t]he reversal or modification on appeal of an authorization under subsection (b) or
                 (c) of this section of a sale or lease or property does not affect the validity of a sale
                 or lease under such authorization to an entity that purchased or leased such property
                 in good faith, whether or not such entity knew of the pendency of the appeal, unless
                 such authorization and such sale or lease were stayed pending appeal.

 11 U.S.C. § 363(m).

        34.      Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold

 pursuant to section 363 of the Bankruptcy Code from the risk that it will lose its interest in the

 purchased assets if the order allowing the sale is reversed on appeal, as long as such purchaser

 leased or purchased the Properties in “good faith.” While the Bankruptcy Code does not define

 “good faith,” courts have held that a purchaser shows its good faith through the integrity of its

 conduct during the course of the sale proceedings, finding that where there is a lack of such

 integrity, a good-faith finding may not be made. See, e.g., In re Abbotts Dairies of Pa., Inc., 788

 F.2d 143, 147 (3d Cir. 1986) (“Typically, the misconduct that would destroy a [buyer’s] good faith

 status at a judicial sale involves fraud, collusion between the [proposed buyer] and other bidders

 or the trustee, or an attempt to take grossly unfair advantage of other bidders.”); In re Paulson, 276

 F.3d 389, 392 (8th Cir. 2002); In re Trism, Inc., 328 F.3d 1003, 1006 (8th Cir. 2003); In re Sasson

 Jeans, Inc., 90 B.R. 608, 610 (S.D.N.Y. 1988). The Debtors submit that the Successful Bidders

 will each be deemed a “good faith purchaser” within the meaning of section 363(m) of the

 Bankruptcy Code, and the Form APA, or any marked versions thereof, is a good-faith agreement

 on arm’s-length terms entitled to the protections of section 363(m) of the Bankruptcy Code.3



 3
        The Debtors believe that a finding of good faith within the meaning of section 363(m) of the Bankruptcy
        Code is appropriate for the Successful Bidders. Pursuant to the Bidding Procedures, the Successful Bidders
        will have had to present a proposal in accordance with the Bidding Procedures. In addition, the Debtors will
        not choose as the Successful Bidders or Backup Bidders (as defined in the Bidding Procedures) any entity
        whose good faith under section 363(m) of the Bankruptcy Code can reasonably be doubted, and will be
        prepared to present the Court with sufficient evidence to allow the Court to find that the “good faith” standard
        of section 363(m) of the Bankruptcy Code has been satisfied.


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         35.     First, as set forth in more detail above, the consideration to be received by the

 Debtors pursuant to the Transactions will be substantial, fair, and reasonable. Second, any sale

 agreement with the Successful Bidders will be the culmination of a competitive Auction in which

 the parties will presumably be represented by counsel and all negotiations will be conducted on an

 arm’s length, good-faith basis. Third, there is no indication of any “fraud, collusion between the

 purchaser and other bidders or the trustee, or an attempt to take grossly unfair advantage of other

 bidders” or similar conduct that would cause or permit the Transaction to be avoided under section

 363(n) of the Bankruptcy Code. And, with respect to potential bidders, the Bidding Procedures

 are designed to ensure that no party is able to exert undue influence over the process. Fourth, the

 Successful Bidders’ offer will have been evaluated and approved by the Debtors in consultation

 with their advisors. Accordingly, the Debtors believe that the Successful Bidders and Form APA

 (or marked version thereof) will be entitled to the full protections of section 363(m) of the

 Bankruptcy Code.

         D.      The Transactions Should Be Approved “Free and Clear” Under § 363(f).

         36.     Section 363(f) of the Bankruptcy Code permits a debtor to sell property free and

 clear of another party’s interest in the property if: (a) applicable nonbankruptcy law permits such

 a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale

 price of the property exceeds the value of all liens on the property; (d) the interest is the subject of

 a bona fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable

 proceeding to accept a monetary satisfaction of its interest. See 11 U.S.C. § 363(f).

         37.     Section 363(f) is drafted in the disjunctive. Thus, satisfaction of any of the

 requirements enumerated therein will suffice to warrant the sale of the Debtors’ Assets free and

 clear of all Interests (i.e., all liens, claims, rights, interests, charges, or encumbrances). See In re



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 Heine, 141 B.R. 185, 189 (Bankr. D. S.D. 1992) (“[O]nly one of the five conditions must be met

 for authority to sell property free and clear of liens.”).

         38.     The Debtors submit that any Transaction satisfies or will satisfy at least one of the

 five conditions of section 363(f) of the Bankruptcy Code, and that any such Transaction will be

 adequately protected by either being paid in full at the time of closing, or by having it attach to the

 net proceeds of the Transaction, subject to any claims and defenses the Debtors may possess with

 respect thereto.

         39.     Accordingly, the Debtors request authority to convey the Properties free and clear

 of all Interests including liens, claims, rights, interests, charges, and encumbrances, with any such

 liens, claims, rights, interests, charges, and encumbrances to attach to the proceeds of the

 Transaction.

         III.    The Form and Manner of the Transaction Notice Should be Approved

         40.     As noted above, as soon as reasonably practicable after entry of the Bidding

 Procedures Order, the Debtors will serve the Transaction Notice upon the following parties or their

 respective counsel, if known: (a) all entities reasonably known to have expressed an interest in a

 transaction with respect to the Properties within the past six months; (b) all entities known to have

 or to have asserted any lien, claim, interest, or encumbrance in or upon any of the Properties; and

 (c) the Office of the United States Trustee for the District of Nebraska (the “U.S. Trustee”).

         41.     The Debtors submit that notice of this motion and the related hearing to consider

 entry of the Bidding Procedures Order, coupled with service of the Transaction Notice, constitutes

 good and adequate notice of the Transaction and the proceedings with respect thereto in

 compliance with, and satisfaction of, the applicable requirements of Bankruptcy Rule 2002.

 Accordingly, the Debtors request that the Court approve the form and manner of the

 Transaction Notice.

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      IV.      The Breakup Fee Has a Sound Business Purpose and Should Be Approved.

         42.     The Debtors also seek authority, but not direction, to pay a Breakup Fee in an

 amount not to exceed 3% of a stalking-horse bid, only in the event that the Debtors elect to enter

 into a stalking-horse arrangement with a third-party bidder as to any particular Property. The use

 of a stalking horse in a public auction process for dispositions pursuant to section 363 of the

 Bankruptcy Code is a customary practice in chapter 11 cases, as the use of a stalking horse bid is,

 in many circumstances, the best way to maximize value in an auction process by “establish[ing] a

 framework for competitive bidding and facilitat[ing] a realization of that value.” Official Comm.

 of Unsecured Creditors v. Interforum Holding LLC, 2011 WL 2671254, *1 (E.D. Wis. July 7,

 2011); see also AgriProcessors, Inc. v. Fokkena (In re Tama Beef Packing, Inc.), 321 B.R. 496,

 497–98 (B.A.P. 8th Cir. 2005). As a result, stalking-horse bidders virtually always require break-

 up fees and, in many cases, other forms of bid protections as an inducement for “setting the floor

 at auction, exposing its bid to competing bidders, and providing other bidders with access to the

 due diligence necessary to enter into an asset purchase agreement.” Interforum Holding, 2011 WL

 2671254, at *1 (internal citations omitted). “Break-up fees are important tools to encourage

 bidding and to maximize the value of the debtor’s assets . . . In fact, because the . . . corporation

 has a duty to encourage bidding, break-up fees can be necessary to discharge [such] duties to

 maximize value.” In re Integrated Res., Inc., 147 B.R. 650, 659–60 (S.D.N.Y. 1992) (emphasis

 added). Specifically, bid protections may be necessary to convince a white knight bidder to enter

 the bidding by providing some form of compensation for the risks that it is undertaking. E.g., In

 re Integrated Res., Inc., 147 B.R. at 660–61 (bid protections can prompt bidders to commence

 negotiations and “ensure that a bidder does not retract its bid”); In re Hupp Int’l Indus., Inc., 140

 B.R. 191, 194 (Bankr. N.D. Ohio 1992) (“[W]ithout such fees, bidders would be reluctant to make

 an initial bid for fear that their first bid will be shopped around for a higher bid from another bidder

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 who would capitalize on the initial bidder’s . . . due diligence.”). Thus, the use of bid protections

 has become an established practice in chapter 11 cases.

        43.     As a result, courts routinely approve bid protections in connection with proposed

 bankruptcy sales where a proposed fee or reimbursement provides a benefit to the estate. See, e.g.,

 In re Wintz Cos., 230 B.R. 840, 847 (B.A.P. 8th Cir. 1999) (holding that bid protections benefitted

 the estate rather than chilled bidding); In re O’Brien Envtl. Energy, Inc., 181 F.3d 527 (3d Cir.

 1999). The Debtors believe that the allowance of the bid protections is in the best interests of the

 Debtors’ estates and their creditors.

        44.     Accordingly, for the reasons set forth above, the Court should grant the Debtors the

 authority to incur and pay the Breakup Fee obligations in their discretion as a valid exercise of the

 Debtors’ business judgment and otherwise within the controlling legal standards in this district.

 V.     Request for Immediate Relief & Waiver of Stay Under Rule 6004(h)

        45.     Bankruptcy Rule 6004(h) provides that an "order authorizing the use, sale, or lease

 of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court

 orders otherwise." The Debtors request that the Bidding Procedures Order and Sale Order(s) be

 effective immediately by providing that the fourteen (14) day stay under Bankruptcy Rules 6004(h)

 is waived.

        46.     The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an

 objecting party to appeal before an order can be implemented. See Advisory Committee Note to

 Fed. R. Bankr. P. 6004(h). Although Bankruptcy Rule 6004(h) and the Advisory Committee Note

 are silent as to when a court should “order otherwise” and eliminate or reduce the fourteen (14)

 day stay period, a leading treatise suggests that the fourteen (14) day stay period should be

 eliminated to allow a sale or other transaction to close immediately “where there has been no

 objection to the procedure.” 10 Collier on Bankruptcy, ¶ 6004.11 (L. King, 16th rev. ed. 2019).

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 Furthermore, Collier's provides that if an objection is filed and overruled, and the objecting party

 informs the court of its intent to appeal, the stay may be reduced to the amount of time actually

 necessary to file such appeal. Id.

        47.     Accordingly, the Debtors hereby request that the Court waive the fourteen-day stay

 period under Bankruptcy Rule 6004(h).

                                       Reservation of Rights

        48.     Nothing contained herein is intended or shall be construed as: (a) an admission as

 to the amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code

 or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

 right to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an

 implication or admission that any particular claim is of a type specified or defined in this Motion;

 (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

 to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability,

 or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

 estates; or (g) a waiver of any claims or causes of action which may exist against any entity under

 the Bankruptcy Code or any other applicable law.

                                                Notice

        49.     The Debtors have provided notice of this Motion to the following parties or their

 respective counsel: (a) the office of the U.S. Trustee for the District of Nebraska; (b) counsel for

 the Official Committee of Unsecured Creditors; (c) the agents under the Debtors’ prepetition asset-

 based facility; (d) the agents under the DIP Facility; (e) the agents under the Debtors’ prepetition

 term loan facility; (f) the Internal Revenue Service; (g) the United States Securities and Exchange

 Commission; (h) the office of the attorneys general for the states in which the Debtors operate; (i)

 the United States Attorney’s Office for the District of Nebraska; and (j) any party that has requested

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 notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the

 relief requested, no other or further notice need be given.

                                            No Prior Request

           50.   No prior request for the relief sought herein has been made to this Court or any

 other Court.


           WHEREFORE, the Debtors respectfully request that the Court: (i) enter the Bidding

 Procedures Order and (ii) grant such other and further relief to the Debtors as the Court may deem

 proper.


 Dated: July 2, 2019              /s/ Lauren R. Goodman
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                                  Michael T. Eversden (NE Bar No. 21941)
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